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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


INGENICO INC.,                              )
                                            )
         Plaintiff,                         )
                                            )
v.                                          )     C.A. No.
                                            )
IOENGINE, LLC,                              )
                                            )
         Defendant.                         )



       COMPLAINT FOR DECLARATORY JUDGMENT OF NONINFRINGEMENT

         Plaintiff, Ingenico Inc. ("Ingenico"), for its suit against IOENGINE, LLC

(“IOENGINE”), alleges as follows:

                                        INTRODUCTION

         1.      On March 23, 2018, IOENGINE filed an action in this Court, alleging that PayPal

Holdings, Inc. (“PayPal”), a customer of Ingenico, infringes patents in connection with certain

products supplied to PayPal by Ingenico. Ingenico brings this action because its close familiarity

with the products it supplied to PayPal puts it in a better position than its customer to contest the

alleged infringement of the patents- in-suit.

                                            PARTIES

         2.      Ingenico is a Georgia corporation with its principal place of business at 3025

Windward Plaza, Suite 600, Alpharetta, Georgia. Ingenico is a leading provider of products to

facilitate secure payments to merchants, whether the transactions are completed using mobile

devices, or in-store payment terminals (collectively, “Card Reader Products”). Ingenico’s Card

Reader Products include those identified at ingenico.us/smart-terminals, and ingenico.us/mobile-

solutions/mobile-smart-terminals, including inter alia Telium and Tetra products (including
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AXIUM Series, Land Series, Desk Series and Move Series), Telium2 products (including iSC

Series, iPP Series, iCT Series, and iWL Series), mPOS Card Readers (including Moby/8500,

Moby/3000, RP457c Series, RP750x Chip & PIN Mobile Card Reader, RP350x Chip & Sign

Mobile Card Reader, and G5X Mobile Card Reader), Tablet POS products (including

Moby/M70), and Mobile Smart Terminals (including iSMP4 Companion, Link/2500, iSMP

Companion, and iCMP), as well as G4x, G3x, and G2card readers.

        3.     On information and belief, IOENGINE is a Delaware limited liability company

with a stated principal place of business at 22 Ensign Road, Norwalk, Connecticut.

                            SUBJECT MATTER JURISDICTION

        4.     This Court has subject matter jurisdiction over this action pursuant to Title 35 of

the United States Code and 28 U.S.C. §§ 1331, 1338(a), 2201 and 2202.

        5.     On March 23, 2018, IOENGINE filed a Complaint (the “Customer Suit

Complaint”) in this district docketed as Civil Action No. 18-452-GMS (“the Customer Suit”).

        6.     In the Customer Suit Complaint, IOENGINE alleged that it is the assignee of

United States Patent No. 8,539,047 (the “’047 patent”), No. 9,059,969 (the “’969 patent”), and

No. 9,774,703 (the “’703 patent”), (collectively, "patents-in-suit”), with rights to enforce them.

Copies of the ‘047, ‘969, and ‘703 patents are attached hereto as Exhibits A-C respectively.

        7.     In the Customer Suit Complaint, IOENGINE further alleged that PayPal infringes,

both directly and indirectly, “claims of each of the” patents-in-suit, including “one or more

claims” of each of the patents-in-suit in connection with products that “include, but are not

limited to, PayPal’s card reader products for mobile payments (for, example the ... PayPal

Mobile Card Reader, PayPal Chip and Swipe Reader, and PayPal Chip and Tap Reader)” (said




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products collectively, the “Ingenico Accused Products” and each individually an “Ingenico

Accused Product”).

        8.     The Ingenico Accused Products are Card Reader Products supplied to PayPal by

Ingenico.

        9.     The Customer Suit has triggered an indemnity request by PayPal to Ingenico.

        10.    Ingenico denies that the patents-in-suit are infringed in connection with any of the

Ingenico Accused Products by Ingenico or its customer PayPal, or any other customers to whom

Ingenico supplies the Ingenico Accused Products.

        11.    Under the circumstances, IOENGINE’s infringement allegations in the Customer

Suit Complaint threaten actual and imminent injury to Ingenico that can be redressed by judicial

relief, and that injury is of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment. Such injury includes, among other things, the implicit assertion that

Ingenico is indirectly infringing by virtue of its actions in selling its Card Reader Products,

including the Ingenico Accused Products; uncertainty as to whether the development, use, and

sale of those products are free from infringement claims based on the patents-in-suit; a cloud

over Ingenico's efforts to market and sell Card Reader Products, including the Ingenico Accused

Products; and the threat that other customers will be sued, giving rise to obligations flowing from

possible claims for indemnity. Absent a declaration of noninfringement, IOENGINE will

wrongfully assert the patents-in-suit against Card Reader Products and the Ingenico Accused

Products, thereby causing Ingenico irreparable injury and damage. Thus, an actual and justiciable

controversy exists between Ingenico and IOENGINE as to the patents-in-suit.




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                                  PERSONAL JURISDICTION

        12.     IOENGINE has consented to personal jurisdiction in this district and waived any

objection to suit in this district by filing the Customer Suit here. IOENGINE has purposefully

availed itself of this district by taking steps to enforce the patents-in-suit here against PayPal, an

Ingenico customer, and seeking to enjoin it and its agents, officers, servants, employees, and

affiliated entities, and all persons in active concert or participation with them, from infringing, or

inducing or contributing to the infringement of, the patents-in-suit. IOENGINE's efforts to

enforce the patents-in-suit and enjoin these persons adversely impact Ingenico, as described

above. The Customer Suit accuses Ingenico's customer of infringement of the same patents and

by use of the same Card Reader Products for which declaratory judgment is sought in this suit,

and therefore adjudicates claims which are related to the same facts that give rise to this suit.

        13.     IOENGINE is subject to personal jurisdiction in this judicial district based upon

its purposeful, systematic, and continuous contacts with Delaware, including those related to this

case as well as its incorporation in Delaware. Upon information and belief, IOENGINE is an

entity created for the purpose of enforcing the patents-in-suit.

                                           VENUE

        14.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to the claims at issue, namely, filing of the Customer Suit, occurred

in this judicial district, and because IOENGINE is subject to personal jurisdiction within this

judicial district due to, inter alia, its incorporation in Delaware.




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                     IOENGINE’S ACCESS TO THE ACCUSED PRODUCTS

        15.    In the Customer Suit Complaint, IOENGINE refers specifically to each of the

three Ingenico Accused Products, and alleges that each such product has “on-board storage and

processing capabilities.”

        16.    In the Customer Suit Complaint, IOENGINE alleges, inter alia, that the PayPal

Mobile Card Reader “contains a EM32 TG110F32 ARM Cortex-M3 processor” and provides a

photograph of an allegedly corresponding processor, alleges the product contains memory

including “Flash memory” and memory “integrated into an EM32 TG110F32 ARM Cortex-M3

processor,” alleges the product includes an audio jack communications interface, and alleges that

the product’s memory stores program code that is configured to cause an interactive user

interface to be presented on a “terminal’s display,” program code configured to enable the

product to “receive communications ... over audio pins (audio pins 3 and 4) ... and to cause a

communication to be sent to a network server,” and program code configured to “cause a

communication resulting from user interaction to be sent to a network server.”

        17.    In the Customer Suit Complaint, IOENGINE alleges, inter alia, that the PayPal

Chip and Swipe Reader “contains an ARM STM 32F103 Series microprocessor” and provides a

photograph of an allegedly corresponding processor, alleges that the product contains memory

including “Flash” and “SRAM memory integrated into an ARM STM 32F103 Series

microprocessor” and “a Bluetooth communications interface,” and alleges that the product’s

memory stores program code that is configured to cause an interactive user interface to be

presented on a “terminal’s display,” program code configured to enable the product to “receive

communications ... and to cause a communication to be sent to a network server,” and program




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code configured to “cause a communication resulting from user interaction ... to be sent to a

network server.”

        18.    In the Customer Suit Complaint, IOENGINE alleges, inter alia, that the PayPal

Chip and Tap Reader “contains a Kinetis MK21FX512VMC12 microprocessor” and provides a

photograph of an allegedly corresponding processor, alleges that the product contains memory

including “FLASH and SRAM memory integrated into a Kinetis MK21FX512VMC12

microprocessor” and a “a Bluetooth communications interface,” and alleges that the product’s

memory stores program code that is configured to cause an interactive user interface to be

presented on a “terminal’s display,” program code configured to enable the product to “receive

communications ... and to cause a communication to be sent to a network server,” and program

code configured to “cause a communication resulting from user interaction ... to be sent to a

network server.”

        19.    IOENGINE or its agents had possession of the PayPal Mobile Card Reader prior

to the filing of the Customer Suit Complaint.

        20.    IOENGINE or its agents had possession of the PayPal Chip and Swipe Reader

prior to the filing of the Customer Suit Complaint.

        21.    IOENGINE or its agents had possession of the PayPal Chip and Tap Reader prior

to the filing of the Customer Suit Complaint.

                                  COUNT I
                        NONINFRINGEMENT OF THE ‘047 PATENT

        22.    Ingenico incorporates the allegations of the preceding paragraphs.

        23.    IOENGINE purports to own the right, title, and interest in the '047 patent,

including the right to assert all causes of action arising under that patent.




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        24.    No claim of the '047 patent has been or is infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their making, using, offering for

sale, sale, or importation into the United States (said making, using, offering for sale, sale, or

importation into the United States, collectively, “Activities”) in connection with any of

Ingenico's Card Reader Products.

        25.    No Ingenico Accused Product has a communication interface that employs WiFi

connectivity protocol.

        26.    No Ingenico Accused Product causes a communication to be sent to a printer.

        27.    No Ingenico Accused Product has memory having executable program code

stored thereon that is configured to be executed by a processor on a device that is not part of the

Ingenico Accused Product (said processor hereafter an “Outside Processor”).

        28.    No Ingenico Accused Product provides any device that is not part of the Ingenico

Accused Product (said device hereafter an “Outside Device”) access to program code stored on

the Ingenico Accused Product’s memory.

        29.    No Ingenico Accused Product provides any Outside Device with access to

program code stored on the Ingenico Accused Product’s memory which is executed by an

Outside Processor.

        30.    No Ingenico Accused Product is configured to provide an Outside Device with

access to program code stored on the Ingenico Accused Product’s memory.

        31.    No Ingenico Accused Product is configured to provide an Outside Device with

access to program code stored on the Ingenico Accused Product’s memory which is executed by

an Outside Processor.




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        32.    Claim 1 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        33.    Claim 2 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        34.    Claim 3 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        35.    Claim 4 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        36.    Claim 5 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        37.    Claim 6 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        38.    Claim 7 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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        39.    Claim 8 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        40.    Claim 9 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        41.    Claim 10 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        42.    Claim 11 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        43.    Claim 12 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        44.    Claim 13 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

        45.    Claim 14 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         46.   Claim 15 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         47.   Claim 16 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         48.   Claim 17 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         49.   Claim 18 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         50.   Claim 19 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         51.   Claim 20 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         52.   Claim 21 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         53.   Claim 22 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         54.   Claim 23 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         55.   Claim 24 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         56.   Claim 25 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         57.   Claim 26 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         58.   Claim 27 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         59.   Claim 28 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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          60.   Claim 29 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

          61.   Claim 30 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

          62.   Claim 31 of the ‘047 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

          63.   As set forth above, an actual controversy exists between Ingenico and IOENGINE

as to infringement of the '047 patent. Ingenico desires a judicial determination and declaration of

the respective rights and duties of the parties herein. Such a determination and declaration is

necessary and appropriate so the parties may ascertain their respective rights and duties.

                                    COUNT II
                        NONINFRINGEMENT OF THE '969 PATENT

          64.   Ingenico incorporates the allegations of the preceding paragraphs.

          65.   On information and belief, IOENGINE purports to own the right, title, and

interest in the ‘969 patent, including the right to assert all causes of action arising under that

patent.

          66.   No claim of the '969 patent has been or is infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

Ingenico's Card Reader Products.

          67.   No Ingenico Accused Product has stored executable program code which when

executed by a processor on the Ingenico Accused Product is configured to cause a

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communication to be transmitted to a communication network                  node, wherein said

communication facilitates the upload of program code to a communication network node

comprising a database.

         68.   No Ingenico Accused Product has stored executable program code which when

executed by a processor on the Ingenico Accused Product is configured to cause a

communication to be transmitted to a communication network node, wherein said

communication facilitates the download of a live data feed to a terminal.

         69.   No Ingenico Accused Product has stored executable program code which when

executed by a processor on the Ingenico Accused Product is configured to cause a

communication to be transmitted to a communication network                  node, wherein said

communication facilitates the download of a live data feed to a terminal, wherein the live data

feed is presented on a terminal output component.

         70.   No Ingenico Accused Product is configured to load program code on to a

terminal.

         71.   Claim 1 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         72.   Claim 2 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         73.   Claim 3 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.



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         74.   Claim 4 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         75.   Claim 5 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         76.   Claim 6 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         77.   Claim 7 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         78.   Claim 8 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         79.   Claim 9 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         80.   Claim 10 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         81.   Claim 11 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         82.   Claim 12 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         83.   Claim 13 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         84.   Claim 14 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         85.   Claim 15 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         86.   Claim 16 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         87.   Claim 17 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         88.   Claim 18 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         89.   Claim 19 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         90.   Claim 20 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         91.   Claim 21 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         92.   Claim 22 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         93.   Claim 23 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         94.   Claim 24 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         95.    Claim 25 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         96.    Claim 26 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         97.    Claim 27 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         98.    Claim 28 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         99.    Claim 29 of the ‘969 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         100.   As set forth above, an actual controversy exists between Ingenico and IOENGINE

as to infringement of the '969 patent. Ingenico desires a judicial determination and declaration of

the respective rights and duties of the parties.


                                    COUNT III
                        NONINFRINGEMENT OF THE '703 PATENT

         101.   Ingenico incorporates the allegations of the preceding paragraphs.




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          102.   On information and belief, IOENGINE purports to own the right, title, and

interest in the ‘703 patent, including the right to assert all causes of action arising under that

patent.

          103.   No claim of the '703 patent has been or is infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

Ingenico's Card Reader Products.

          104.   No Ingenico Accused Product is comprises a network interface configured to

enable the transmission of communications between the Ingenico Accused Product and a

communications network node.

          105.   No Ingenico Accused Product has memory having executable program code

stored thereon which, when executed by the processor on the Ingenico Accused Product, is

configured to facilitate communications between the Ingenico Accused Product and a

communications network node.

          106.   No Ingenico Accused Product has memory having executable program code

stored thereon which, when executed by the processor on the Ingenico Accused Product, is

configured to cause a communication to be transmitted through an Ingenico Accused Product’s

network interface to a communications network node.

          107.   No Ingenico Accused Product is configured to receive a data stream transmitted

from a communications network node.

          108.   No Ingenico Accused Product is configured to receive a data stream comprising

video data content.

          109.   No Ingenico Accused Product is configured to transmit video data content to a

terminal for display on a terminal video monitor.



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         110.     No Ingenico Accused Product is configured to receive a data stream comprising

audio data content.

         111.     No Ingenico Accused Product is configured to transmit audio data content to a

terminal for presentation by a terminal speaker.

         112.     No Ingenico Accused Product is configured to receive a data stream comprising a

live data feed.

         113.     No Ingenico Accused Product is configured to transmit a live data stream received

from a communications network node.

         114.     No Ingenico Accused Product is configured to transmit to a terminal a data stream

received from a communications network node.

         115.     No Ingenico Accused Product is configured to transmit to a terminal data received

from a network communications node.

         116.     No Ingenico Accused Product has an audio/video interface.

         117.     No Ingenico Accused Product is configured to receive program code comprising

advertisement information to be presented by an interactive user interface on the terminal.

         118.     No Ingenico Accused Product has memory having executable program code

stored thereon configured to cause a communication to be transmitted to a communications

network node to facilitate the upload of program code from an Ingenico Accused Product to a

communications network node.

         119.     No Ingenico Accused Product has memory having executable program code

stored thereon that, when executed by a processor in the Ingenico Accused Product, is configured

to cause a communication to be transmitted to a communication network node to facilitate




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synchronizing data on the Ingenico Accused Product with data stored on a communication

network node.

         120.   No Ingenico Accused Product has memory having executable program code

stored thereon that, when executed by a processor in the Ingenico Accused Product, is configured

to cause a communication to be transmitted to a communication network node to facilitate

synchronizing program code on the Ingenico Accused Product with program code stored on a

communication network node.

         121.   The use of any Ingenico Accused Product does not involve executing program

code stored the Ingenico Accused Product to facilitate communications between the Ingenico

Accused Product and a communications network node.

         122.   The use of any Ingenico Accused Product does not involve transmitting a

communication between an Ingenico Accused Product network interface and a communications

network node.

         123.   The use of any Ingenico Accused Product does not involve an Ingenico Accused

Product receiving a data stream transmitted from a communications network node to an Ingenico

Accused Product.

         124.   The use of any Ingenico Accused Product does not involve an Ingenico Accused

Product receiving a data stream, transmitted from a communications network node to an

Ingenico Accused Product, comprising video data content.

         125.   The use of any Ingenico Accused Product does not involve transmitting video

data content from an Ingenico Accused Product to a terminal for display on a terminal output

component.




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         126.   The use of any Ingenico Accused Product does not involve an Ingenico Accused

Product receiving a data stream, transmitted from a communications network node to an

Ingenico Accused Product, comprising audio data content.

         127.   The use of any Ingenico Accused Product does not involve an Ingenico Accused

Product transmitting a data stream from an Ingenico Accused Product to a terminal for

presentation on a terminal output component.

         128.   The use of any Ingenico Accused Product does not involve an Ingenico Accused

Product receiving a data stream comprising a live data feed.

         129.   The use of any Ingenico Accused Product does not involve transmitting live data

feed, received by an Ingenico Accused Product from a network communications node, from an

Ingenico Accused Product to a terminal.

         130.   No Ingenico Accused Product executes program code configured to facilitate

communications between the Ingenico Accused Product and a communications network node.

         131.   No Ingenico Accused Product executes program code configured to cause a

communication to be transmitted through an Ingenico Accused Product’s network interface to a

communications network node.

         132.   The use of any Ingenico Accused Product does not involve the download of

content from a communications network node to the Ingenico Accused Product.

         133.   The use of any Ingenico Accused Product does not involve executing program

code, by a processor on the Ingenico Accused Product, configured to cause a communication to

be transmitted to a communication network node, wherein said communication facilitates the

upload of program code to a communication network node.




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         134.   The use of any Ingenico Accused Product does not involve executing program

code, by a processor on the Ingenico Accused Product, configured to cause a communication to

be transmitted to a communication network          node, wherein said communication facilitates

synchronizing content on the Ingenico Accused Product with content on a communication

network node.

         135.   The use of any Ingenico Accused Product does not involve executing program

code, on a processor on the Ingenico Accused Product, configured to cause a communication to

be transmitted to a communication network node, wherein said communication facilitates the

transmission of a live data feed to a terminal.

         136.   The use of any Ingenico Accused Product does not involve executing program

code, on a processor on the Ingenico Accused Product, to provide a terminal with biometric data

stored in an Ingenico Accused Product’s memory.

         137.   No Ingenico Accused Product is configured to execute program code to cause a

communication to be transmitted to a communication network node to facilitate synchronizing

content on the Ingenico Accused Product with content on a communication network node.

         138.   No Ingenico Accused Product has stored executable program code which when

executed by a processor on the Ingenico Accused Product is configured to cause a

communication to be transmitted to a communication network node, wherein said

communication facilitates the transmission of a live data feed to a terminal.

         139.   No Ingenico Accused Product has biometric data stored in an Ingenico Accused

Product’s memory

         140.   No Ingenico Accused Product is configured to execute program code to provide a

terminal with biometric data.



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         141.   Claim 1 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         142.   Claim 2 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         143.   Claim 3 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         144.   Claim 4 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         145.   Claim 5 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         146.   Claim 6 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         147.   Claim 7 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         148.   Claim 8 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         149.   Claim 9 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         150.   Claim 10 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         151.   Claim 11 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         152.   Claim 12 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         153.   Claim 13 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         154.   Claim 14 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         155.   Claim 15 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         156.   Claim 16 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         157.   Claim 17 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         158.   Claim 18 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         159.   Claim 19 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         160.   Claim 20 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         161.   Claim 21 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         162.   Claim 22 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         163.   Claim 23 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         164.   Claim 24 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         165.   Claim 25 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         166.   Claim 26 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         167.   Claim 27 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         168.   Claim 28 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         169.   Claim 29 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         170.   Claim 30 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         171.   Claim 31 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         172.   Claim 32 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         173.   Claim 33 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         174.   Claim 34 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         175.   Claim 35 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         176.   Claim 36 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         177.   Claim 37 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         178.   Claim 38 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         179.   Claim 39 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         180.   Claim 40 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         181.   Claim 41 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         182.   Claim 42 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         183.   Claim 43 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         184.   Claim 44 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         185.   Claim 45 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         186.   Claim 46 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         187.   Claim 47 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         188.   Claim 48 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         189.   Claim 49 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         190.   Claim 50 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         191.   Claim 51 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         192.   Claim 52 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         193.   Claim 53 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         194.   Claim 54 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         195.   Claim 55 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         196.   Claim 56 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         197.   Claim 57 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         198.   Claim 58 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         199.   Claim 59 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         200.   Claim 60 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         201.   Claim 61 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         202.   Claim 62 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         203.   Claim 63 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         204.   Claim 64 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         205.   Claim 65 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         206.   Claim 66 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         207.   Claim 67 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         208.   Claim 68 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         209.   Claim 69 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         210.   Claim 70 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         211.   Claim 71 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         212.   Claim 72 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         213.   Claim 73 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         214.   Claim 74 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         215.   Claim 75 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         216.   Claim 76 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         217.   Claim 77 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         218.   Claim 78 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         219.   Claim 79 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         220.   Claim 80 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         221.   Claim 81 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         222.   Claim 82 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         223.   Claim 83 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         224.   Claim 84 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         225.   Claim 85 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         226.   Claim 86 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         227.   Claim 87 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         228.   Claim 88 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         229.   Claim 89 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         230.   Claim 90 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         231.   Claim 91 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         232.   Claim 92 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         233.   Claim 93 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         234.   Claim 94 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         235.   Claim 95 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         236.   Claim 96 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         237.   Claim 97 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         238.   Claim 98 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         239.   Claim 99 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         240.   Claim 100 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         241.   Claim 101 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         242.   Claim 102 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         243.   Claim 103 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         244.   Claim 104 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         245.   Claim 105 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         246.   Claim 106 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         247.   Claim 107 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         248.   Claim 108 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         249.   Claim 109 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         250.   Claim 110 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         251.   Claim 111 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         252.   Claim 112 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         253.   Claim 113 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         254.   Claim 114 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         255.   Claim 115 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         256.   Claim 116 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         257.   Claim 117 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         258.   Claim 118 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         259.   Claim 119 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         260.   Claim 120 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         261.   Claim 121 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         262.   Claim 122 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         263.   Claim 123 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         264.   Claim 124 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         265.   Claim 125 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         266.   Claim 126 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.




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         267.   Claim 127 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         268.   Claim 128 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products.

         269.   Claim 129 of the '703 patent is not infringed, either directly or indirectly,

contributorily or otherwise, by Ingenico or any person through their Activities in connection with

any of the Ingenico Accused Products

         270.   As set forth above, an actual controversy exists between Ingenico and IOENGINE

as to infringement of the '703 patent. Ingenico desires a judicial determination and declaration of

the respective rights and duties of the parties.


                                      PRAYER FOR RELIEF

         WHEREFORE, Ingenico prays for the following relief:

         A.     A declaration that Ingenico and its customers, including PayPal, have not

infringed and are not infringing, directly, indirectly or otherwise, any claim of the patents-in-suit;

         B.     An order that IOENGINE and each of its officers, employees, agents, attorneys,

and any persons in active concert or participation with them, is restrained and enjoined from

further prosecuting, or threatening to prosecute, any action against Ingenico or Ingenico's

customers claiming that the patents-in-suit are infringed, or from representing that Ingenico's

products or services, including, without limitation, any of Ingenico’s Card Reader Products, or

that others' use thereof, infringe the patents-in-suit;




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         C.    A declaration that this case is exceptional under 35 U.S.C. § 285 and awarding

Ingenico its attorneys' fees;

         D.    All costs associated with this case.

         E.    Such other and further relief as the Court deems just and proper.



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Dated: June 1, 2018




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